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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

                                   :
  DANIEL JOHNSON, individually and on
                                   :                  DOCKET NO. _________________
  behalf of all others similarly situated,
                                   :
                                   :
            Plaintiff,             :                  JURY TRIAL DEMANDED
                                   :
       v.                          :
                                   :                  CLASS ACTION PURSUANT TO FED.
  INMAN’S AUTO RESCUE OF COLORADO, :                  R. CIV. P. 23, and
  LLC,                             :                  COLLECTIVE ACTION PURSUANT
                                   :                  TO 29 U.S.C. § 216(b)
            Defendant.             :
                                   :

         NOW COMES Plaintiff Daniel Johnson, by and through his attorneys, Berger & Montague,

  P.C., Blanchard & Walker PLLC, and Kehoe Law Firm, on behalf of himself and on behalf of all

  others similarly situated, brings this Complaint against Defendant Inman’s Auto Rescue of

  Colorado, LLC (“Defendant” or “Auto Rescue”) as follows:

                     CLASS AND COLLECTIVE ACTION COMPLAINT

         1.     This is a collective action brought pursuant to 29 U.S.C. §216(b) by Plaintiff Daniel

  Johnson, on behalf of himself and all others similarly situated, which arises from Defendant’s

  willful violation of the federal Fair Labor Standards Act (“FLSA”), 29 U.S.C. §201, et seq., the

  Colorado Minimum Wage Act (“CMWA”), Colo. Rev. Stat. §§ 8-6-101 et seq., as implemented

  by Colo. Code Regs. §§ 1103-1:2 et seq., and the Colorado Wage Act (“CWA”) Colo. Rev. Stat.

  §§ 8-4-101 through 8-4-123, for failure to pay proper minimum wages and overtime wages for all

  hours of work performed by its employees.

         2.     Defendant Auto Rescue employs Plaintiff and others similarly situated as roadside

  assistance technicians to provide services to motorists whose vehicles have suffered a mechanical
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  failure that leaves the operator stranded, such as getting a flat tire, being locked out of their car,

  running out of fuel, or a dead battery.

         3.      Plaintiff brings this collective action on behalf of himself and others similarly

  situated to challenge Defendant’s unlawful policy and practice of misclassifying its roadside

  assistance technicians as “independent contractors” when they are properly classified as

  employees.

         4.      By misclassifying its roadside assistance technicians as “independent contractors,”

  Defendant violated the FLSA by failing to pay their workers minimum wage and overtime for all

  time worked in excess of forty hours per week.

         5.      Plaintiff brings this claim under the FLSA on behalf of all similarly situated

  employees who may choose to opt in to this action pursuant to 29 U.S.C. §216(b).

         6.      Plaintiff also brings claims for violations of the CMWA and CWA, as well as for

  unjust enrichment under Colorado law, pursuant to Fed. R. Civ. P. 23(a) and (b)(3).

                                               PARTIES

         7.      Plaintiff Daniel Johnson (“Johnson”), who is a citizen and resident of Colorado

  Springs, Colorado, has worked for Defendants as a roadside assistance technician from 2015 to

  the present. Pursuant to 29 U.S.C. § 216(b), Johnson has consented in writing to being a Plaintiff

  in this action. See Exhibit A.

         8.      Defendant Inman’s Auto Rescue of Colorado, LLC is a limited liability company

  doing business in Colorado, with its principal place of business at 1685 S. Colorado Blvd., Unit S-

  264, Denver, Colorado 80222.




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                                    JURISDICTION AND VENUE

          9.      This Court has federal question jurisdiction pursuant to 28 U.S.C. § 1331, because

  Plaintiff has brought a claim pursuant to the Fair Labor Standards Act, 29 U.S.C. § 201, et seq.

          10.     Venue is proper in this Court because Plaintiff resides within this judicial district,

  and because a substantial part of the events or omissions giving rise to Plaintiff’s claim occurred

  within this District.

                                      STATEMENT OF FACTS

          11.     Defendant Auto Rescue is part of a large, nationwide network of affiliated roadside

  service companies that are owned and controlled by Michael K. Inman through his ownership of

  and control over a web of related entities, including Inman Management Services, Inc., Inman’s

  Auto Rescue LP, Inman Holdings, Inc., and Inman Affiliates, LLC.

          12.     Auto Rescue provides roadside services to stranded motorists in the State of

  Colorado, whose vehicles have suffered a mechanical failure that leaves the operator stranded,

  such as a flat tire, being locked out of their car, running out of fuel, or a dead battery.

          13.     As a condition of employment, Auto Rescue requires its roadside assistance

  technicians to sign an “Independent Contractor Agreement” (the “Agreement”) that

  mischaracterizes each roadside assistance technician as an “independent contractor.”

          14.     The Agreement is designed to facilitate Defendant’s intentional misclassification

  of employees and to conceal the employer-employee relationship between the roadside assistance

  technicians and Auto Rescue.

          15.     In fact, Auto Rescue maintains the absolute right to control and direct the work of

  its roadside assistance technicians by, among other things:




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                 a. Assigning roadside assistance technicians to calls and punishing technicians

                     who fail to accept a call by not giving the technician work for a period of time;

                 b. Requiring roadside assistance technicians to wear particular clothing, including

                     shirts, vests and hats that bear Defendant’s emblems or logos, and to display

                     specific branding on their vehicles;

                 c. Issuing rules for roadside assistance technicians regarding who can be in the

                     technicians’ vehicles during calls;

                 d. Prescribing rules on how roadside assistance technicians are to conduct

                     themselves while on calls;

                 e. Controlling the dispatch of roadside assistance service calls by Defendant; and

                 f. Equipping new roadside assistance technician hires with specific tools and

                     providing a GPS tracking device to install on the new technician’s vehicle, and,

                     on occasion, agents of Auto Rescue visiting the new technician to assist with

                     proper GPS set-up.

         16.     While Defendant (mis)classified Plaintiff and others similarly situated as

  “independent contractors,” Defendant retained the absolute right to control and direct the work of

  Plaintiff and others similarly situated. Further, the nature of the services that they performed, and

  the manner in which they performed these services, made it clear that Plaintiff and others similarly

  situated were actually “employees” within the meaning of the FLSA.

         17.     Plaintiff and others similarly situated are not paid hourly wages. Rather, they are

  paid on a “per call” basis for each call they receive, respond to, and assist.

         18.     Defendant did not provide Plaintiff and others similarly situated with payroll

  statements or other documentation that reflected the actual number of hours that they worked.




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         19.     Plaintiff and others similarly situated are on call 24 hours a day, 7 days a week.

  They regularly work in excess of 40 hours a week, but they are not paid any overtime. For example,

  Plaintiff Johnson has typically worked 60 hours a week.

                   DEFENDANT HAS WILLFULLY VIOLATED THE FLSA

         20.     Defendant Auto Rescue has willfully engaged in violations of the FLSA by

  misclassifying its roadside assistance technician as independent contractors when, at all relevant

  times, its senior management had no reasonable basis to believe that Plaintiff and the members of

  the FLSA Collective were independent contractors. Rather, Defendant either knew or acted with

  reckless disregard of clearly applicable FLSA provisions in failing to classify its roadside

  assistance technicians as employees. Such willfulness is demonstrated by, or may be inferred from,

  Defendant’s actions and/or failures to act, including the following:

                 a. At all times relevant hereto, Defendant has required its roadside assistance

                     technicians to work in excess of 40 hours per week;

                 b. At all times relevant hereto, Defendant has ensured compliance with its

                     requirement to work more than 40 hours per week by retaliating against any

                     roadside assistance technicians who have declined to take calls at all hours of

                     the day and night;

                 c. Such retaliation has included cutting off or substantially reducing the number

                     of calls roadside assistance technicians would receive from Defendant;

                 d. At all times relevant hereto, Defendant has maintained payroll records which

                     reflected the fact that Plaintiff and similarly situated roadside assistance

                     technicians did, in fact, regularly work in excess of 40 hours per week, and thus,




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                Defendant had actual knowledge that Plaintiff and similarly situated roadside

                assistance technicians worked overtime;

             e. At all times relevant hereto, Defendant knew that it did not pay Plaintiff and

                similarly situated roadside assistance technicians one and one-half (1 ½) times

                their regular pay rate for hours worked in excess of forty (40) hours per week;

             f. As evidenced by its Independent Contractor Agreements Defendant entered

                into with Plaintiff and similarly situated roadside assistance technicians, at all

                times relevant hereto, Defendant has been aware of the nature of the work

                performed by its roadside assistance technicians;

             g. At all times relevant hereto, Defendant has maintained the absolute right to

                control and direct the work of its roadside assistance technicians, as alleged in

                paragraphs 15-16, above;

             h. At all times relevant hereto, Defendant was aware that it would (and, in fact

                did) benefit financially by misclassifying Plaintiff and similarly situated

                roadside assistance technicians as independent contractors, as it allowed

                Defendant to avoid paying roadside assistance technicians one and one-half (1

                ½) times their regular pay rate for hours worked in excess of forty (40) hours

                per week;

             i. At all times relevant hereto, Defendant has had a strong financial motive to

                violate the requirements of the FLSA by misclassifying its roadside assistance

                technician as independent contractors; and

             j. Defendant’s affiliates have been sued for such violations, yet it has failed to

                change its employment practices. For instance, in August 2015 (nearly two




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                     years ago), related Auto Rescue companies Auto Rescue of MKE, LLC,

                     Inman’s Auto Rescue, LP, and the companies’ patriarch, Michael K. Inman,

                     were sued in Wisconsin federal court “to challenge Defendant’s unlawful

                     practice of misclassifying its roadside technicians as “independent contractors”

                     when they are properly classified as employees.” Metzger v. Auto Rescue of

                     MKE LLC, Case No. 2:15-cv-00967-JPS, at Dkt. 1 (D. Wis. Aug. 13, 2015)

                     (Complaint alleging violations of the FLSA). Such legal actions placed

                     Defendant on notice that its classification of auto assistance technicians as

                     independent contractors violated the FLSA, but despite being on notice of its

                     misconduct, Defendant has failed to bring its employment practices into

                     compliance with the requirements of the FLSA.

         21.     Based upon the foregoing, Defendant was cognizant that, or recklessly disregarded

  whether, its conduct violated the FLSA.

                             COLLECTIVE ACTION ALLEGATIONS

         22.     This Cause of Action is brought as a collective action under the FLSA, 29 U.S.C

  §216(b).

         23.     Plaintiff brings this Cause of Action on behalf of himself all other similarly situated

  roadside assistance technicians who have worked for Defendant between July 31, 2014 and the

  date of final judgment in this matter.

         24.     Excluded from this collective action are any roadside assistance technicians who

  have worked for Defendant within the State of Texas between June 30, 2014 and the date of final

  judgment in this matter.




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         25.     Plaintiff and other roadside assistance technicians are “similarly situated,” as that

  term is used in 29 U.S.C. § 216(b), in that they are all subject to Defendant’s common plan or

  practice of misclassifying technicians as independent contractors, not paying them overtime for all

  hours worked beyond forty (40) in a given week, and not ensuring that they receive at least the

  federal minimum wage for all weeks worked. Thus, resolution of this action requires inquiry into

  common facts, including, inter alia, Defendant’s common compensation, timekeeping and payroll

  practices.

         26.     The similarly situated roadside assistance technicians are known to Defendant, are

  readily identifiable, and may be located through Defendant’s records, as well as the records of any

  payroll companies that Defendant has utilized. Defendant has employed, and continues to employ,

  many roadside assistance technicians. These similarly situated employees may be readily notified

  of this action through direct U.S. mail and/or other appropriate means, and allowed to opt into it

  pursuant to 29 U.S.C. § 216(b), for the purpose of collectively adjudicating their claims for

  overtime compensation, liquidated damages (or, alternatively, interest), and attorneys’ fees and

  costs under the FLSA.

         27.     A copy of Johnson’s consent to bring claims for unpaid minimum and overtime

  wages under FLSA as a representative action is attached hereto as Exhibit A.

                             FIRST CLAIM FOR RELIEF:
                   VIOLATION OF THE FAIR LABOR STANDARDS ACT
                                COLLECTIVE ACTION
                       (Named Plaintiff and opt-ins against Defendant)

         28.     Plaintiff realleges and incorporates by reference the preceding paragraphs.

         29.     Pursuant to the Fair Labor Standards Act, 29 U.S.C. §207(a)(1), an employer must

  pay an employee overtime at a rate not less than one and a half (1.5) times the employee’s regular

  rate of pay for all hours worked in excess of forty hours per week.



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         30.     The FLSA allows an employer to pay on a piece-rate basis, provided that the

  employer pays for all hours worked, including non-productive hours, and pays a premium for hours

  worked over forty hours in a week, based on the employee’s regular rate of pay. 29 U.S.C. §207(a)

  and (g); 29 C.F.R. § 778.111.

         31.     A piece-rate employee’s regular rate of pay is determined by “adding together his

  total earnings for the workweek from piece rates and all other sources (such as production bonuses)

  and any sums paid for waiting time or other hours worked (except statutory exclusions). This sum

  is then divided by the number of hours worked in the week for which such compensation was

  paid[.]” 29 C.F.R. § 778.111. Once the regular rate has been established, the piece-rate overtime

  is compensated at one and one-half times that regular rate for hours in excess of 40 that workweek.

  Where there is no agreement between the employer and the employee made prior to performance

  of the work, the FLSA does not permit the employer to calculate a pieceworker’s regular rate of

  pay by any other method. See 29 U.S.C. §207(g).

         32.     Plaintiff and others similarly situated have regularly worked in excess of forty hours

  per week but have not been paid overtime premium pay for hours worked in excess of forty hours

  per week.

         33.     Defendant knowingly, intentionally, and willfully failed to pay Plaintiff and others

  similarly situated overtime premium pay for hours worked in excess of forty hours per week.

         34.     As a direct and proximate result of Defendant’s willful unlawful conduct, Plaintiff

  and others similarly situated have suffered, and will continue to suffer, lost wages and other

  damages.

         35.     This claim is brought on behalf of a class of similarly situated individuals who may

  choose to “opt in” to this case, pursuant to 29 U.S.C. § 216(b).




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                         COLORADO CLASS ACTION ALLEGATIONS

          36.     Plaintiff brings this cause of action under the Colorado Minimum Wage Order (7

   CCR 1103–7) (the “MWO”) on behalf of himself all other similarly situated roadside assistance

   technicians who have worked for Defendant in the State of Colorado between July 31, 2014 and

   the date of final judgment in this matter (the “Colorado Class”), pursuant to Fed. R. Civ. P. 23(a)

   and (b)(3).

          37.     Auto Rescue violated the MWO because it (1) failed to pay a fixed salary regardless

   of the number of hours worked by paying holiday and day off pay in addition to the weekly salaries

   of Plaintiff and the Colorado Class, (2) failed to provide Plaintiff and the Colorado Class with a

   clear, mutual understanding that Auto Rescue will pay the employee a fixed salary regardless of

   the number of hours worked, and (3) failed to pay Plaintiff and the Colorado Class a fifty percent

   (50%) overtime premium in addition to the full fixed weekly salary for all hours worked in excess

   of forty (40) during the week.

          38.     The Colorado Class is so numerous that joinder of all members is impracticable.

   Although the precise number of such persons is unknown, these similarly situated employees are

   known to Defendant, are readily identifiable, and can be located through Defendant’s records.

   Upon information and belief, there are more than 40 class members in the Colorado Class.

          39.     There are questions of law and fact common to the members of the Colorado Class

   that predominate over any questions solely affecting the individual members of the Colorado

   Class, including, without limitation:

                  a. Whether Auto Rescue employed Plaintiff and Colorado Class members within

                      the meaning of the MWO;




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                  b. What proof of hours worked is sufficient when the employer fails in its duty to

                      maintain time records;

                  c. Whether Auto Rescue failed to pay Plaintiff and the Colorado Class for all of

                      the hours they worked;

                  d. Whether Auto Rescue failed to pay Plaintiff and the Colorado Class the legally

                      required amount of overtime compensation under Colorado law;

                  e. Whether Auto Rescue is liable for all damages claimed by Plaintiff and the

                      Colorado Class, including, without limitation, compensatory, punitive and

                      statutory damages, interest, costs and disbursements, and attorneys’ fees; and

           40.    Plaintiff’s claims are typical of the claims of the Colorado Class members. Plaintiff

   has the same interests in this matter as all other members of the Colorado Class.

           41.    Plaintiff is an adequate class representative, is committed to pursuing this action,

   and has retained competent counsel experienced in wage and hour law and class action litigation.

           42.    Class certification of Plaintiff’s Colorado state law claim is appropriate pursuant to

   Fed R. Civ. P. 23(b)(3) because questions of law and fact common to the Colorado Class

   predominate over questions affecting only individual members of the Colorado Class, and because

   a class action is superior to other available methods for the fair and efficient adjudication of this

   litigation.

           43.    Plaintiff knows of no difficulty that would be encountered in the management of

   this litigation that would preclude its maintenance as a class action.

                              SECOND CLAIM FOR RELIEF:
                   VIOLATION OF COLORADO MINIMUM WAGE ORDER
                        (On behalf of Plaintiff and the Colorado Class)

           44.    Plaintiff realleges and incorporates by reference the preceding paragraphs.




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          45.     Overtime compensation due to Colorado workers is governed by the Colorado

   Minimum Wage Act (“CMWA”), Colo. Rev. Stat. §§ 8-6-101 et seq., as implemented by Colo.

   Code Regs. §§ 1103-1:2 et seq. and the Colorado Wage Act (“CWA”) Colo. Rev. Stat. §§ 8-4-101

   through 8-4-123.

          46.     Auto Rescue is subject to the overtime requirements of the CMWA and CWA,

   because Auto Rescue is a “retail and service” business or enterprise that sells or offers for sale a

   service to the consuming public, through the use of service employees such as Plaintiff and the

   Colorado Class, that generates 50% or more of its annual dollar volume of business from such

   sales. 7 Colo. Code Regs. §§ 1103-1:1 and 1103-1:2(A).

          47.     Plaintiff and the Colorado Class are entitled to protection under the CMWA and

   CWA, because they are employees who are engaged in the performance of work connected with

   or incidental to such business or enterprise. 7 Colo. Code Regs. § 1103-1:2(A).

          48.     Plaintiff and others were Defendant’s “employees” as that term is defined by the

   MWO because they have performed labor for the benefit of Defendant in which Defendant

   commanded when, where, and how much labor or services would be performed. 7 Colo. Code

   Regs. § 1103-1(2).

          49.     Defendant is required under Colorado law to pay Plaintiff and the Colorado Class

   and one-half the regular rate of pay for any work in excess of: “(1) forty (40) hours per workweek;

   (2) twelve (12) hours per workday, or (3) twelve (12) consecutive hours without regard to the

   starting and ending time of the workday (excluding duty free meal periods), whichever calculation

   results in the greater payment of wages.” 7 Colo. Code Regs. § 1103-1:4.




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          50.     Defendant violated the Colorado law by willfully failing to pay Plaintiff and others

   overtime premiums for all hours worked in excess of forty in each given workweek. 7 Colo. Code

   Regs. § 1103-1:4.

          51.     Due to Defendant’s willful violations of Colorado law, Plaintiff and the Colorado

   Class have suffered lost wages and lost use of those wages in an amount to be determined at trial.

          52.     Plaintiff and others are entitled to recover from Defendant their unpaid wages for

   the legally required amount of overtime compensation for all hours worked by them in excess of

   forty in a workweek, plus reasonable attorney’s fees and costs. Colo. Rev. Stat. § 8-6-118; 7 C.C.R.

   1103-1(18).

                                  THIRD CLAIM FOR RELIEF:
                         UNJUST ENRICHMENT UNDER COLORADO LAW
                             (On Behalf Plaintiff and the Colorado Class)
          53.     Plaintiff realleges and incorporates by reference the preceding paragraphs.

          54.     Auto Rescue has received and benefited from the uncompensated labors of Plaintiff

   and the Colorado Class, such that to retain said benefit without compensation would be inequitable

   and rise to the level of unjust enrichment.

          55.     At all relevant times hereto, Auto Rescue devised and implemented a plan to

   increase its earnings and profits by fostering a scheme of securing work from Plaintiff and the

   Colorado Class without paying overtime compensation for all hours worked.

          56.     Contrary to all good faith and fair dealing, Auto Rescue induced Plaintiff and the

   Colorado Class to perform work while failing to pay overtime compensation for all hours worked

   as required by law.

          57.     By reason of having secured the work and efforts of Plaintiff and the Colorado

   Class without paying overtime compensation as required by law, Auto Rescue enjoyed reduced




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   overhead with respect to their labor costs, and therefore realized additional earnings and profits to

   its own benefit and to the detriment of Plaintiff and the Colorado Class.

          58.     Auto Rescue retained and continues to retain such benefits contrary to the

   fundamental principles of justice, equity, and good conscience.

          59.     Plaintiff and the Colorado Class are entitled to judgment in an amount equal to the

   benefits unjustly retained by Auto Rescue.

                                       JURY TRIAL DEMAND

          60.     Plaintiff demands a trial by jury for all issues of fact.

                                        RELIEF REQUESTED

          WHEREFORE, Plaintiff Daniel Johnson, on behalf of all other persons similarly situated,

   known and unknown, requests that this Court enter the following relief:

      a. Permission for individuals who performed work for Defendant within the State of Colorado

          (and not within the State of Texas), are classified as independent contractors, and have not

          been paid minimum wage or overtime for hours greater than forty (40) worked in a week,

          to opt-in to this action pursuant to § 216(b) of the FLSA;

      b. With respect to Plaintiff’s claims for violations of the CMWA and CWA, as well as for

          unjust enrichment under Colorado law (Claims for Relief Two and Three): (i) certification

          of this action as a class action pursuant to Fed. R. Civ. P. 23(a) and (b)(3); (ii) the

          undersigned counsel be appointed class counsel; (iii) prompt notice of this litigation be sent

          to all potential Colorado Class members; and (iv) Plaintiff be awarded a service award in

          recognition of his work as a representative of the proposed Colorado Class;

      c. All damages to which the named Plaintiff and class members may be entitled;




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     d. Liquidated and multiple damages as allowed by law, including double damages under the

         FLSA;

     e. An injunction prohibiting Defendant from further violations of the law as described here;

     f. Post-judgment assignment of attorney’s fees and costs; and

     g. Any other relief to which Plaintiff and class members may be entitled.

   Dated: July 31, 2017                         Respectfully submitted,

                                                /s Steven L. Woodrow

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